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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                    Criminal No. 21-CR-399 (RDM)
       v.

ROMAN STERLINGOV,

                   Defendant.


        CHAINALYSIS’ NOTICE IN RESPONSE TO THE COURT’ S REQUEST REGARDING
                             PROTECTIVE ORDER

       Chainalysis Inc. (“Chainalysis”), hereby respectfully provides for the Court copies of the

following:


       1.      Exhibit A, a Proposed Protective Order addressing an expert to be named by the

defense, or, alternatively;


       2. Exhibit B, a Proposed Protective Order if the defense were to choose Jonelle Still, who

is known to have a competitive interest with Chainalysis through her employment.


Dated this 12th day of September, 2023.


                                            Respectfully submitted,

                                            MORRISON & FOERSTER LLP



                                            By:     /s/ William Frentzen
                                                    William Frentzen (D.C. Bar No. 1740835)
                                                    WFrentzen@mofo.com
                                                    425 Market Street, 32nd Floor
                                                    San Francisco, CA 94105
                                                    Telephone: (415) 268-7000
                                                    Facsimile: (415) 268-7522
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                                 OF COUNSEL:

                                 Michael Komorowski
                                 MKomorowski@mofo.com
                                 Emani N. Oakley
                                 EOakley@mofo.com
                                 425 Market Street, 32nd Floor
                                 San Francisco, CA 94105
                                 Telephone: (415) 268-7000
                                 Facsimile: (415) 268-7522

                                 Attorneys for Non-party Chainalysis Inc.
